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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

LULULEMON ATHLETICA CANADA INC.,

               Plaintiff,                          Case No. 18-cv-07253

v.                                                 Judge Charles R. Norgle, Sr.

LULULEMONAUS.COM, et al.,                          Magistrate Judge Susan E. Cox

               Defendants.


                      NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

        Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Lululemon

Athletica Canada Inc. (“Lululemon”) hereby dismisses this action, with leave to reinstate within

one hundred and twenty (120) days, as to the following Defendants:

                  Defendant Name                                      Line No.
                      Chinalsh                                           26
                     facai 7411                                          28
                      Happy Hut                                          32
                 vampire internation                                     56
                       xt999                                             58

Dated this 6th day of February 2019.        Respectfully submitted,

                                            /s/ Justin R. Gaudio
                                            Amy C. Ziegler
                                            Justin R. Gaudio
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